Case 7:15-cv-00101 Document 19 Filed in TXSD on 11/13/15 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

MCALLEN DIVISION
RICARDO and IRENE PUMAREJ 0 §
§
Plaintiffs §
§ CIVIL ACTION NO 7:15-CV-00101
§
vs. §
§
STATE FARM LLOYDS §
Defendant §

STIPULATION OF DISMISSAL

Pursuant to F ederal Rule of Civil Procedure 41 (a) (1) (A) (ii) Plaintiffs file this Stipulation

of Dismissal as to Defendant “State Farm LLOYDS (State Farm)”.

l. Plaintiff are Richardo and Irene Pumarejo. Defendant is STATE FARM LLOYDS.

2. On January, 27, 2015, Plaintiffs sued Defendant. Defendant removed this case to the United
States District Court on March l, 2015 .

3. Plaintiff’ s RICHARDO PUMAREJO and IRENE PUMAREJO move to dismiss their claims
against STATE FARM LLOYDS.

4. This case is not a class action.
5. A receiver has not been appointed in this case.
6. Plaintiffs have not dismissed an action based on or including the same claims as those

presented in this suit.
7. This dismissal is With prejudice to re-flling.
DATED: November 13, 2015.

Richardo Pumarejo

Irene Pumarejo q@y

Case 7:15-cv-00101 Document 19 Filed in TXSD on 11/13/15 Page 2 of 3

AGREED:

Respectfully submitted,

V. GONZALEZ & ASSOCIATES, P.C.
121 North 10th Street

McAllen, Texas 78501

Telephone: (956) 630-3266

Facsimile: (956) 630-0383

/.\'/ Aloysfus Peter Thaddeus, Jr.
ALOYSIUS PETER THADDEUS, JR.
State Bar No.l9819500

F ed I.D. No. 0793

VICENTE GONZALEZ

State Bar No. 00798215

ATTORNEYS FOR PLAINTIFF

/s/ Michael Klein
Michael Klein
State Bar No. 11563200
Michael.klein@sed,qwicklaw.com
Lisa Magids
State Bar No. 24002600
Lisa.magids@sedgwicklaw.com
Sedgewick, L.L.P.
919 Congress Ave. Suite 1250
Austin, Texas 78701
ATTORNEYS FOR DEFENDANT
AND STATE FARM LLOYDS

Case 7:15-cv-00101 Document 19 Filed in TXSD on 11/13/15 Page 3 of 3

CERTIFICATE OF SERVICE

Ihereby certify that atrue and correct copy ofthe forgoing document Was sent by
fax on the 13th day of November, 2015 to opposing counsel as follows:

Via E-Mail and Via E-Servc'ce
Michael Klien

Sedgwick, L.L.P.

919 Congress Ave., Suite 1250
Austin, Texas 78701

/s/Alovsius Peter Thada'eus, Jr.
Aloysius Peter Thaddeus, Jr.

